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TARRANT COUNTY . . .
ELECTIONS ADMINISTRATION Z01B AUS 30 PN I2: 3G
Deputy Elections Administrator TH
CLERK GF COURT On
, Idnumber: 2180399
CRYSTAL LA-VON MASON Notice #: N4496689
6065 AUTUMN BREBZE CIR JAFRTEN AC 0 A a WAT
FORT WORTH TX 76140 .

 

 

Presoribed by Secretary of State, Seetions 16.031(a), 16.036, Texas Election Code, BW5-3 01/2015

NOTICE OF CANCELLATION OF VOTER REGISTRATION
Notice is hereby given that your voter registration has been cancelled in Tarrant County,

The reason for cancellation is due to failure to respand to a Notice of Examination mailed to you
by this office over 30 days ago. (Sec. 16.033, Texas Election Code.)

You may request a hearing on the cancellation of your registration by submitting a written request
for such hearing. If you request a hearing, a notice will be mailed to you setting forth the date of the

hearing. The hearing will be scheduled within ten (10) days after your request or on a later date if
you so request.

If after the hearing, the voter registrar determines that your registration shall remain cancelled, you
are entitled to appeal the adverse decision issued by the voter registrar by petitioning for review in
district court not later than the 30th day after the adverse decision is issued.

If you should have any questions regarding this cancellation, please contact me at (817) 831-6457.
Pam Flow

PFLOW
Voter Registration Clerk 13619.387 FEL

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7700 PREMIER STREHT, PO BOX 961011, FORT WORTH, TEXAS 76161-0011 (817) 831-8683 (VOTE) TDD (817-159-7801)

 
 

TARRANT COUNTY

 

 

STEPHEN VICKERS ELECTIONS ADMINISTRATION
Elections Administrator Deputy Elections Administrator
VUID: 1051322606
May 22, 2013 Idnumber: 2180399
CRYSTAL LA-VON MASON Notice #: N4482994
6065 AUTUMN BREEZE CIR TENTH AA BO
FORT WORTH TX 76140

 

 

Prescribed by Secretary of State, Section 16.033, Texas Blection Code, BW5-2, 0/2015
NOTICE OF EXAMINATION

Notice is hereby given that information has been received in our office concerming your registration
to vote. Your registration status is being examined on the ground(s) that:

You have been convicted of a felony.

You must reply within 30 days of this notice. You should provide adequate information or
documentation establishing your qualifications to remain registered in this county. A response
form is enclosed for your use in replying to this notice.

If'a reply is not received within 30 days after the date of mailing this notice, your registration will
be canceled.

If you have any questions concerning this notice, please contact our office at (817) 831-6457.

LA

Irma Martinez PFLOW
Voter Registration Clerk 1352719 - EFEL

2700 PREMIER STREET, PO BOX 961011, FORT WORTH, TEXAS 76161-0011 (81'7) 831-8683 (VOTE) TDD @ 1°7-759-7801)
